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                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-00763-PAB-SP

  ELECTRO-MECHANICAL PRODUCTS, INC.,
  a Colorado corporation, DAVID P. MORRIS, an
  individual, and DAVID J. WOLENSKI, an individual,


                 Plaintiffs,

  v.

  ALAN LUPTON ASSOCIATES INC., a New York
  corporation,

                 Defendant.


                      PLAINTIFFS’ MOTION TO REOPEN DISCOVERY


         Plaintiffs Electro-Mechanical Products, Inc., David P. Morris and David J. Wolenski

  (“EMP”), by and through counsel, Anthony L. Leffert and Carl A. Hjort III of Robinson Waters

  & O’Dorisio, P.C., submit the within Motion to Reopen Discovery and in support thereof state as

  follows:

                                CERTIFICATE OF CONFERRAL

         The undersigned certifies that Plaintiffs have conferred with the Defendant regarding the

  relief sought in this Motion. Defendant opposes the relief requested herein.

  I.     Introduction

         On January 25 and 26, 2023, EMP took the depositions of corporate representatives of

  PGM Corp. and MKS Instruments, Inc. During these depositions, EMP learned, for the first time,

  that Defendant Alan Lupton Associates, Inc. (“Lupton Associates”) had brokered the sale of parts


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  manufactured by PGM Corp. to a company called Viasat, Inc. (“Viasat”). EMP also learned for

  the first time in these depositions that Lupton Associates sold the parts of C&M Machine Products,

  Inc. t/a C&M Precision Tech (“C&M”), another competitor of EMP, to MKS Instruments, Inc.

  After these revelations, EMP promptly moved to amend the Complaint, to allege these additional

  breaches of contract (See Plaintiffs’ Motion for Leave to File Second Amended Complaint, ECF

  Doc. #37).

          EMP also moved diligently to discover more information about these sales. EMP sent a

  discovery request to Lupton Associates specifically about these sales. Additionally, on March 14,

  2023 and again on March 31, 2023, EMP served a Subpoena to Produce Documents (“the

  Subpoena”) on Viasat. Unfortunately, as the Court already knows, these attempts to discover this

  information have been met with stonewalling from Lupton Associates and Viasat. The Parties

  engaged in a discovery conference with Judge Crews last week, in which Lupton Associates told

  the Court that they are not in possession of the key documents, i.e., the drawings of the parts in

  question, and thus cannot produce them. Viasat has told undersigned counsel that Lupton

  Associates has the drawings and refused to produce them in response to the Subpoena. Viasat’s

  non-compliance with the Subpoena is the subject of a co-pending motion for contempt sanctions

  for Viasat’s willful disregard of a proper subpoena. (See ECF Doc. #44).

          This case involves claims for breach of contract between EMP and Lupton Associates. One

  of the terms of this contract states “[Lupton Associates] shall not directly or indirectly solicit orders

  for or sell any products competitive with [EMP’s] products without its written consent.” EMP has

  learned, through the aforementioned depositions, that Lupton Associates has in fact been soliciting




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  orders for and selling products competitive with EMP’s products and without any consent from

  EMP.

         In order to calculate its damages in this case, EMP requires sales data and drawings of the

  parts that were made for Viasat by PGM, and the parts C&M made for MKS. The drawings are

  vital to EMP’s case because a review of these drawings will determine whether EMP has the

  capability to make the subject parts, thereby confirming that the parts are competitive with EMP’s

  parts. Additionally, EMP seeks purchase records from Viasat for all the Lupton Associates-

  brokered purchases Viasat has made to identify any other manufacturers Lupton Associates has

  represented to Viasat and confirm the sales numbers provided by PGM. EMP now moves the Court

  to reopen discovery to obtain these drawings and sales data from Viasat.

  II.    Factual Background

         In a deposition on January 26, 2023, EMP learned, for the first time, that one of the

  customers PGM has supplied parts to, through representation by Lupton Associates, is Viasat. On

  January 30, 2023, EMP sent discovery requests to Lupton Associates, specifically requiring

  Lupton Associates to:

                 [p]roduce, in native form, whether written or electronic including
                 any attachments, all copies of all communications, requests for
                 quotes and invoices regarding sales made to Viasat by C&M
                 Precision Tech and PGM Corp.

         On February 2, 2023, EMP filed a Motion for Leave to File a Second Amended Complaint,

  to add factual allegations to the Complaint relative to these sales to Viasat. (See ECF Doc. #37).

  On March 1, 2023, Lupton Associates responded to EMP’s discovery requests, without providing

  any substantive response relative the Viasat sales by stating:




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                   Lupton objects to RFP No. 17 on the grounds that Lupton is subject
                   to confidentiality and non-disclosure obligations under an
                   agreement with Viasat. Lupton will alert Viasat to this request
                   pursuant to its agreement and legal obligations.

          On March 14, 2023 and again on March 31, 2023,1 EMP served a subpoena on Viasat to

  produce:

                   [d]ocuments and records reflecting ViaSat’s purchase of any parts
                   or assemblies from any manufacturer represented by Alan Lupton
                   Associates, Inc., including what parts and assemblies were
                   purchased and the sales price for the purchase.

          Viasat has refused to respond to the Subpoena, claiming that their compliance would be

  unduly burdensome, because the requested documents could be obtained from Lupton Associates

  and that the admissibility of Viasat’s documents might be in doubt. Further, Viasat has claimed

  that they authorized Lupton Associates to produce the requested documents to EMP, but Lupton

  Associates has refused, claiming that they do not have such documents.2 Counsel for EMP have

  made numerous requests to counsel for Viasat to provide these drawings and the Lupton

  Associates-brokered sales data but have received absolutely no cooperation from Viasat in an

  attempt to reach an agreement for the production of these documents. On April 24, 2023, EMP

  filed a Motion for Contempt Sanctions against Viasat for non-compliance with the Subpoena. (See

  ECF Doc. #44). Lupton Associates has filed a Motion to Quash the Subpoena, contending, inter

  alia, that the discovery period is closed. (See ECF Doc. #48).



  1
    EMP first served this Subpoena on March 14, 2023 at its home office, but Viasat resisted on the grounds that EMP
  had not served its statutory agent with that first subpoena. EMP subsequently re-served the Subpoena on Viasat’s
  registered agent on March 31, 2023.
  2
    EMP and Lupton Associates had a discovery dispute conference with Judge Crews on May 1, 2023, in which
  Lupton Associates represented to the Court that they did not have possession of the drawings of the parts. The Court
  concluded that Lupton Associates could not be compelled to produce documents it did not have. (See ECF Doc.
  #52).


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  III.   Legal Standard

         Whether to modify a scheduling order “to extend or reopen discovery is committed to the

  sound discretion” of the Court. Smith v. United States, 834 F.2d 166, 169 (10th Cir. 1987). When

  exercising its discretion, the Court considers the following factors: 1) whether trial is imminent,

  2) whether the request is opposed, 3) whether the non-moving party would be prejudiced, 4)

  whether the moving party was diligent in obtaining discovery within the guidelines established by

  the court, 5) the foreseeability of the need for additional discovery in light of the time allowed for

  discovery by the district court, and 6) the likelihood that the discovery will lead to relevant

  evidence. Id. (citations omitted); accord. Hallum v. Four Corners OB-GYN, Civil Action No. 19-

  cv-03632- KLM, 2021 WL 2894244, at *2 (D. Colo. July 9, 2021). For the fourth factor, the Tenth

  Circuit has explained that the movant must show that the scheduling deadline could not be met

  despite diligent efforts which may be satisfied if the movant learns new information through

  discovery. Gorsuch, Ltd., B.C. v. Wells Fargo Nat. Bank Ass’n, 771 F.3d 1230, 1240 (10th Cir.

  2014). While the Scheduling Order “defines a lawsuit’s boundaries in the trial court and on appeal,

  total inflexibility is undesirable.” Summers v. Missouri Pac. R.R. Sys., 132 F.3d 599, 604 (10th

  Cir. 1997) (internal citations and quotation marks omitted).

  IV.    Argument

         Extending discovery for the limited purpose of obtaining documents from Viasat and C&M

  is appropriate when weighing the six factors identified in Smith.




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          a.       Trial is not imminent.

          There is no trial date currently set, though a Pre-Trial Conference was set by Judge Crews

  for August 2, 2023.3 Assuming this Motion is granted shortly after the parties’ briefing is complete,

  EMP proposes a short, extended discovery period to obtain documents from Viasat and C&M and

  will have this additional discovery completed well in advance of the Pre-Trial Conference.

  Therefore, the first factor weighs in favor of reopening fact discovery for this limited purpose. See

  Hallum, 2021 WL 2894244, at *2 (trial was not “imminent” for purposes of allowing two

  additional expert witness depositions five months before trial).

          b.       Lupton Associates opposes the Motion.

          The second factor weighs against granting the Motion because it is opposed. This is

  outweighed, however, by the remaining factors.

          c.       Lupton Associates will not be prejudiced by a limited reopening of fact
                   discovery.

          While fact discovery nominally ended on March 15, 2023, there are numerous motions still

  pending before the Court that will require resolution before the issues for trial can be settled. As

  noted above, EMP’s Motion to File a Second Amended Complaint is still pending. Also, the parties

  have engaged in substantial motions practice over the discovery requests to Viasat that are the

  subject of this extension. In short, this is not a situation where the parties are solely engaged in

  preparing for the eve of trial, and the issues for trial are not even fully settled yet. Lupton

  Associates therefore cannot credibly claim that it would be prejudiced by EMP’s request, and the

  third factor weighs in favor of granting the Motion.


  3
   The case has since been re-assigned to Magistrate Judge Prose, and it is unknown at this time if Magistrate Judge
  Prose will proceed with this conference on this date.


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         d.      EMP was diligent in obtaining discovery within the prior deadlines.

         Plaintiffs have been diligently engaged in discovery throughout this case, taking and

  defending twelve depositions, producing over 40,000 pages of documents, and submitting

  numerous written discovery requests. It was not until just before the close of fact discovery that

  EMP learned of the identity of Viasat as the customer to which PGM supplied its parts. When

  EMP did discover this information, it followed up with written discovery requests to Lupton

  Associates regarding the Viasat sales within four (4) days after the deposition at which this

  information first became known. Lupton Associates provided no substantive response to this

  discovery request, and EMP sent a subpoena directly to Viasat within fourteen (14) days after

  receiving Lupton Associates’ non-substantive response. In sum, EMP moved immediately to try

  to discover more information about these sales during the discovery period and these efforts were

  stymied by Lupton Associates and Viasat to try to “run out the clock” on the discovery period

  without providing this information.

         e.      Plaintiffs’ need for information from Viasat was not foreseeable until
                 January 26, 2023.

         Until the January 26, 2023 deposition of PGM Corp.’s corporate representative, EMP did

  not know the identity of the PGM customers that Lupton Associates brokered sales for. EMP did

  not have a reasonable basis to seek information from Viasat prior to this new information coming

  to light just before the close of fact discovery. As noted above, when this information did come to

  light, EMP moved diligently to try to secure information about these sales from both Lupton

  Associates and Viasat. Thus, the fifth factor weighs in favor of granting the Motion.




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         f.      Documents from Viasat will certainly lead to relevant evidence.

         As stated above, the drawings and sales data from Viasat are absolutely relevant and vital

  evidence for EMP’s damages case. The drawings of the parts Viasat purchases from PGM and

  C&M sells to MKS are vital to EMP’s case because a review of these drawings will determine

  whether EMP has the capability to make the subject parts, thereby confirming that the parts are

  competitive with EMP’s parts. The purchase records from Viasat for all the Lupton Associates-

  brokered purchases Viasat has made will identify any other manufacturers Lupton Associates has

  represented to Viasat and confirm the sales numbers provided by PGM. The sixth factor weighs

  heavily in favor of granting the Motion.

  V.     Conclusion

         Five of the six Smith factors clearly weigh in favor of reopening discovery in this case for

  the limited purpose of EMP obtaining documents from Viasat and C&M. For the foregoing

  reasons, Plaintiffs request that the Court GRANT this motion to reopen discovery.

         Respectfully submitted this 11th day of May, 2023.

                                               ROBINSON WATERS & O’DORISIO, P.C.

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 11, 2023, a true and correct copy of the foregoing was

  delivered via CM/ECF electronic service addressed to the following:

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